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                                UNITED STATES D ISTR ICT COURT
                                SOUTH ERN DISTRICT O F FLORIDA

                              CASE NO .16-81608-m c-M IDD LEBROO K S

   VIRG IN IA L.G IUFFRE,

           Plaintiff,


   JEFFREY EPSTEm ,

           Defendant.

                                    /

                                        ORDER O F TR AN SFER

           THIS CAU SE com esbefore theCourtupon PlaintiffsStipulated and Agreed Sealed M otion to

   TransferM otiontoCompelto CourtHandlingtheUnderlying Case(ûtMotion'').(DE 11).Fed.R.Civ.P.
   4549 permitstheCourttotransferamotiontocompeltotheunderlyingcourtthatissuedthedeposition
   orderSsifthepersonsubjecttothesubpoenaconsents.''WitnessEpsteinconsentstothetransfer,and
   accordingly,allPartiesinvolved requestthattheCourttransferthe matterto the Southern DistrictofN ew

   York(Sweet,J.).Accordingly,itishereby
           ORDERED AND ADIUD GED that

           (1) PlaintiffsMotion (DE 11)isGRANTED.
           (2)Theabove-styled matterisTRANSFERRED to theJudge Sweet,Southern DistrictofNew
              York,forallfurtherproceedings.

           (3)ThismatterisCLOSED inthisDistrict.
           DONEAND ORDERED in Cham berssatW est           I    each, 'Io ida. this ZA   dayofO tober,
   2016.
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                                                UN ITED STATES DISTRICT JU DG E


   Copiesto2CounselofRecord
